  Case 2:10-cr-20129-KHV          Document 832         Filed 02/07/13     Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )                        CRIMINAL ACTION
v.                                  )
                                    )                        No. 10-20129-09-KHV
ROCQUEL JONES-QUINN,                )
                                    )
                  Defendant.        )
____________________________________)

                               MEMORANDUM AND ORDER

       On June 27, 2011, the Court sentenced defendant to 84 months in prison. This matter is

before the Court on defendant’s letter (Doc. #831) which the Court construes as a motion to reduce

sentence. Defendant asks the Court to reduce her sentence because she has participated in various

BOP programs. The Court commends defendant’s participation in these programs, but as explained

below, the Court does not have authority to reduce her sentence at this time.

       A federal district court may modify a defendant’s sentence only where Congress has

expressly authorized it to do so. United States v. Blackwell, 81 F.3d 945, 947 (10th Cir. 1996); see

18 U.S.C. § 3582(c). Congress has set forth three limited circumstances in which a court may

modify a sentence: (1) upon motion of the Director of the Bureau of Prisons in extraordinary

circumstances or where defendant has reached 70 years of age and has served at least 30 years in

prison; (2) when “expressly permitted by statute or by Rule 35;” and (3) when defendant has been

sentenced “based on a sentencing range that has subsequently been lowered by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1), (2); see Blackwell, 81 F.3d at 947-48. None of these

exceptions apply here. Defendant has not cited any statute which authorizes the Court to modify

her sentence. Moreover, Rules 35 and 36 of the Federal Rules of Criminal Procedure clearly do not
  Case 2:10-cr-20129-KHV           Document 832         Filed 02/07/13        Page 2 of 2




authorize a substantive modification of defendant’s sentence at this time. See id.; Fed. R. Crim.

P. 35 (authorizes resentencing to correct illegal sentence on remand from court of appeals, to reflect

defendant’s substantial assistance on motion of the government, and to correct arithmetical,

technical or other clear error within seven days of sentencing); Fed. R. Crim. P. 36 (authorizes court

to correct clerical-type errors). Finally, the Court does not have inherent authority to resentence

defendant. See Blackwell, 81 F.3d at 949. For these reasons, the Court does not have jurisdiction

to resentence defendant at this time.

       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #831) filed February 4,

2013, which the Court construes as a motion to reduce sentence, be and hereby is OVERRULED.

       Dated this 7th day of February, 2013 at Kansas City, Kansas.

                                               s/ Kathryn H. Vratil
                                               KATHRYN H. VRATIL
                                               United States District Judge




                                                 -2-
